                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

        v.                                         Case No. 22-mj-2035DPR

 MICHAEL E. HUNT, JR,

                                Defendant.

                   MOTION OF THE UNITED STATES FOR PRETRIAL
                    DETENTION HEARING PURSUANT TO TITLE 18,
                       UNITED STATES CODE, SECTION 3142(f)

       The United States of America, by the United States Attorney for the Western District of

Missouri, does hereby move that the Court order a pretrial detention hearing pursuant to 18 U.S.C.

' 3142(f), for the purpose of presenting evidence to determine whether any condition or

combination of conditions of release will reasonably assure the safety of other persons and the

community and the appearance of the defendant. As grounds for the motion, the United States

submits that:

       1.       There is probable cause to believe that the defendant committed the offense of

                possession with the intent to distribute 40 grams or more of a mixture or substance

                containing a detectable amount of fentanyl, a Schedule II controlled substance; in

                violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B);

       2.       The defendant poses a risk to the safety of others in the community; and

       3.       The defendant poses a serious risk to flee.




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                                SUPPORTING SUGGESTIONS

       Subsection 3142(f), of Title 18, United States Code provides that a hearing must be held

by the appropriate judicial officer to determine whether any condition or combination of conditions

will reasonably assure the defendant=s appearance and the safety of any other person in the

community if the attorney for the government moves for such a hearing and if the case involves

an offense under the Controlled Substances Act (21 U.S.C. ' 801, et seq.) for which imprisonment

for 10 years or more is possible. In this case, the defendant is charged with possession with the

intent to distribute 40 grams or more of a mixture or substance containing a detectable amount of

fentanyl, in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B), a crime for

which the higher possible term of imprisonment is a term of not less than five years and not more

than 40 years imprisonment.

       Accordingly, upon a showing that there exists probable cause that the defendant committed

the offense referred to in the complaint, there is a legal presumption, subject to rebuttal by the

defendant, that no condition or combination of conditions will reasonably assure his appearance

or assure the safety of the community. See United States v. Apker, 964 F.2d 742, 743-44 (8th Cir.

1992); United States v. Dorsey, 852 F.2d 1068, 1069-70 (8th Cir. 1988). Section 3142(e) and

(f)(1) provides a presumption that a defendant will not appear for subsequent court appearances

that arise if the offense is one enumerated under the Controlled Substance Act, as referred to above.

Under the Bail Reform Act, there is also a presumption that the likelihood of flight increases with

the severity of the charges, the strength of the government=s case, and the penalty which conviction

could bring. See Apker, 964 F.2d at 744.

       As set forth in the affidavit submitted in support of the complaint, the defendant was

transporting a large amount of fentanyl to Springfield, Missouri, when he was stopped and arrested.



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       For the reasons set forth above, the United States requests that a detention hearing be held

and that the defendant be denied bail.

                                                      Respectfully submitted,

                                                      TERESA A. MOORE
                                                      United States Attorney


                                             By        /s/ Josephine L. Stockard
                                                      Josephine L. Stockard, MO Bar #63956
                                                      Assistant United States Attorney
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                                    Certificate of Service

       The undersigned hereby certifies that a copy of the foregoing was delivered on June 13,
2022, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.


                                           /s/ Josephine L. Stockard
                                           Josephine L. Stockard
                                           Assistant United States Attorney




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